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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division

 RAYMOND TIEDE,                            )
                                           )
                   Petitioner,             )
       v.                                  )                   Civil No. 3:19cv589-REP
                                           )
 JEFFREY CRAWFORD, et al.,                 )
                                           )
                   Respondents.            )
 __________________________________________)


             DECLARATION OF PAUL TRUMP, SUPERVISORY DETENTION
                         AND DEPORTATION OFFICER

     Pursuant to 28 U.S.C. § 1746, I, Paul Trump, hereby declare and state as follows:

        1.      I am employed as a Supervisory Detention and Deportation Officer (SDDO) with

 the United States Department of Homeland Security (DHS), Immigration and Customs

 Enforcement (ICE) in the Washington, DC Field Office.

        2.      As a Supervisory Detention and Deportation Officer, I am charged with the

 responsibility of overseeing the cases of detained aliens in removal proceedings. These duties

 include the review of alien files for sufficiency, the detention and release of aliens in ICE custody,

 monitoring the progress of cases through the criminal system, if necessary, and the immigration

 hearing process, review and completion of post-order custody reviews (“POCRs”), and

 enforcement of the immigration court’s decision, including the execution of removal orders.

        3.      The following declaration is based on a review of information contained in the alien

 file of Petitioner Raymond Tiede (“Petitioner”), A200 397 367, records and databases maintained

 by ICE, and other documents and physical evidence relevant to Petitioner; my own personal

 knowledge and observations during the course of my official duties; and information conveyed to
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 me by other law enforcement officials. I am therefore familiar with the facts and circumstances

 regarding Petitioner’s immigration proceedings and custody status.

 I.     DETENTION AND REMOVAL UPDATE

        4.      Petitioner remains in ICE custody at ICA Farmville.

        5.      On or about September 11, 2020, DHS contacted the Assistant Attaché for

 Removals (AAR) in Dakar, Senegal to request an update on prior request for assistance. DHS has

 not yet received a reply.

        6.      On or about September 17, 2020, the ICE Forensic Document Laboratory

 determined that a version of the consular identification card provided by the Petitioner appears to

 exist, but it was unable to verify the authenticity of the card.

        7.      On or about October 21, 2020, DHS contacted INTERPOL to inquire whether the

 Cote d’Ivoire had responded to its May 2020 inquiry regarding Petitioner’s identity. DHS has not

 yet received a response from INTERPOL.

        8.      On or about August 13, August 20, and September 2, 2020, DHS contacted the

 French Consulate regarding the Petitioner’s newly provided consular identification card.

        9.      On or about October 21, 2020, the French Consulate responded to DHS’s inquiries.

 According to the consulate, the consular card the Petitioner submitted was obtained on the basis

 of a false birth certificate and the accompanying statement from Petitioner has no probative value

 in matters of French nationality. The French Consulate advised that the only remaining solution

 was for the Petitioner to apply for a Certificate of French Nationality.

        10.     On or about October 23, 2020, DHS informed the Petitioner and his immigration

 attorney of record of the French Consulate’s finding and advisal. DHS requested that the Petitioner

 initiate the process of applying for a Certificate of French Nationality.




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         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct to the best of my information, knowledge, and belief.




                                Pa I Trump, Supervisory Detention and Deportation Officer
                                U.s. Immigration and Customs Enforcement
                                U.s. Department of Homeland Security




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